      Case 4:23-cv-01101-HSG Document 38 Filed 04/07/23 Page 1 of 2


 1   JACK PRAETZELLIS (SBN 267765)
     jpraetzellis@foxrothschild.com
 2   FOX ROTHSCHILD LLP
     345 California Street, Suite 2200
 3   San Francisco, California 94104
     Telephone:     (415) 364-5540
 4   Facsimile:     (415) 391-4436
 5   W MASON (admitted pro hac vice)
     wmason@foxrothschild.com
 6   FOX ROTHSCHILD LLP
     777 S. Flagler Drive
 7   Suite 1700 West Tower
     West Palm Beach, FL 33401
 8   Telephone:     (561) 804-4432
     Facsimile:     (561) 835-9602
 9
     Attorneys for Plaintiff CMG Mortgage, Inc.
10   d/b/a CMG Financial, a California corporation

11                              UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13

14   CMG MORTGAGE, INC. d/b/a CMG                    CASE NO. 4:23-cv-01101-HSG
     FINANCIAL, a California corporation,
15                                                   ORDER TO EXTEND TIME TO FILE
                                Plaintiff,           OPPOSITION TO MOTION TO
16                                                   DISMISS (as modified)
            v.
17
     AMIT KAIM and JENNY KIM, individuals,
18
                                Defendants.
19

20

21

22

23

24

25

26

27

28

                                                         ORDER TO EXTEND TIME TO FILE OPPO-SITION TO
                                                                    DEFENDANTS’ MOTION TO DISMISS
                                                                       CASE NO. 4:23-cv-01101-HSG
     144446244.1
      Case 4:23-cv-01101-HSG Document 38 Filed 04/07/23 Page 2 of 2


 1           Upon consideration of Plaintiff’s Agreed Motion for Extension of Time, and the Court
 2   having found that the interests of judicial economy and fundamental fairness support granting the
 3   request relief, Plaintiff’s motion is hereby GRANTED and Plaintiff shall have until April 13,
 4   2023 to respond to the Motion to Dismiss should the case not result in a settlement. Defendants
 5   shall have until April 20, 2023 to reply to Plaintiff's response to the Motion to Dismiss should
 6   the case not result in a settlement.
 7            IT IS SO ORDERED.
 8            Dated: 4/7/2023
 9
                                                   The Honorable Haywood S. Gilliam, Jr.
10                                                 United States District Court Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                               ORDER TO EXTEND TIME TO FILE OPPO-SITION TO
                                                                          DEFENDANTS’ MOTION TO DISMISS
                                                                             CASE NO. 4:23-cv-01101-HSG
     144446244.1
